Case 9:17-cv-81261-WPD Document 167 Entered on FLSD Docket 06/07/2019 Page 1 of 2



                       IN TH E U N ITED STATE S D ISTR ICT C O U RT
                      FO R TH E SO UT H ERN D ISTR ICT O F FLO R IDA

                 CA SE N O .9:I7-CV -8IZ6I-D IM ITROU LEA SN A TTHEW M AN

   ALL-TA G CORP.,

                      Plaintiff,                                 FILED BY                   D C.
                                                                                             .




                                                                        JU8 27 2219
                                                                        ANGELA E.NOBLE
                                                                        CLERK U S DISQ CI
   CHECKPOINT SYSTEM S,m C.,                                            s.o.oFFkà.-w.Ra.

                      Defendant.

                 O R D ER G R ANTIN G IN PA R T PLA INTIFF'S M O TIO N TO
                   AM END EXPERT DISCOVERY DEADLINES IDE 1531

         THIS CAUSE isbeforetheCourtuponPlaintiff,All--l-agCorp.'s(lsplaintiff')M otionto
  AmendExpertDiscoveryDeadlines(DE 1531.Thismatterwasreferredto theundersigned upon
  an O rderreferring a1ldiscovery m attersto the undersigned forappropriate disposition.See D E 51.

  Defendant,CheckpointSystems,lnc.(Defendant)did nottile aresponse,but,pursuantto the
  Court'sOrderAdding M otion to Hearing (DE 1561,thepartiesfiled a JointNoticeon June 2,
  2019.gDE 1621.OnJune5,2019,pursuanttotheparties'requestintheirJointNotice(DE 1621,
 the H onorable U nited States DistrictJudge W illiam P.D im itrouleas entered an Order extending

 the discovery deadline in thiscase by one w eek,from Septem ber 11,2019 to Septem ber 18,2019.

  gDE 1641.TheCourtheldahearingontheM otiononJune6,2019.
         Atthe hearing,the parties represented thatthey had com e to an agreem entregarding the

 expertdiscovery deadlines,as stated in the JointNotice.(DE 1621.The Courthas carefully
 reviewedtheMotion (DE 1531,theJointNotice(DE 1621,JudgeDimitrouleas'Order(DE 1641,
Case 9:17-cv-81261-WPD Document 167 Entered on FLSD Docket 06/07/2019 Page 2 of 2



 and the representationsm ade to the Courtatthe Jtm e 6,2019 hearing.A ftercarefulconsideration,

 andasstatedinopencourt,Plaintiff'sMotiontoAmendExpertDiscoveryDeadlines(DE 1531is
 G R AN TED in part.ltis hereby O R D ERED thatthe follow ing deadlinesshallapply:

         Affirm ative ExpertReportsD ue:                            July 17,2019
         D epositions ofA ffirm ative Experts Com pleted:           A ugust9,2019
         R ebuttalExpertR eports D ue:                              A ugust23,2019
         D eposition ofR ebuttalExperts Com pleted:                 September 18,2019
         Factand ExpertD iscovery C ut-off:                         Septem ber 18,2019

         The CourtO RD ER S the parties to conclude alldiscovery,whether factor expert,on or

 before Septem ber 18,2019.The Courtnotes thatthe currentsubstantive pretrialm otion deadline

  ofOctober11,2019,and thetrialperiodofJanuary 3,2020 (DE 511remain unchangedandare
  unaffected by this Order.Plaintiff's M otion isdenied in a1lotherregards.
                                       4
         DONEandORDERED inChambersthisf, dayofJune,2019,atWestPalm Beach,
  Palm Beach County in the Southern D istrictofFlorida.
                                                           l

                                                W ILLIA M M A T H EW M AN
                                              UN ITED STA TES M A GISTM TE JU D GE
